                              Case 24-12539-LSS                      Doc 1         Filed 11/03/24               Page 1 of 23

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________     District of __________
 District of Delaware

 Case number (If known): _________________________ Chapter 15                                                                                       Check if this is an
                                                                                                                                                        amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                       12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Afiniti, Ltd.
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)         ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                  ✔
                                                             45859
                                                        Other ___________________________.                     Registrar of Companies of Bermuda
                                                                                           Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:      xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Afiniti, Ltd.
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which             ,QWKH0DWWHURI$ILQLWL/WG 3URYLVLRQDO/LTXLGDWRUV$SSRLQWHGIRU5HVWUXFWXULQJ3XUSRVHV 6XSUHPH&RXUWRI%HUPXGD
     appointment of the foreign              &RPSDQLHV :LQGLQJ8S &RPPHUFLDO&RXUW1R
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                           ✔
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               ✔
                                                 A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________
                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the               ✔
     foreign representative(s)?
                                                 Yes




Official Form 401                                 Chapter 15 Petition for Recognition of a Foreign Proceeding                                         page 1
                               Case 24-12539-LSS                    Doc 1        Filed 11/03/24              Page 2 of 23

Debtor          Afiniti, Ltd.
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Bermuda
                                        ______________________________________________                   Crawford House, 50 Cedar Avenue
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Hamilton,Pembroke,HM11
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         Bermuda
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 Crawford House, 50 Cedar Avenue
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Hamilton,Pembroke,HM11
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 Bermuda
                                                                                                         _______________________________________________
                                         Country                                                         Country




10. Debtor’s website (URL)
                                          https://www.afiniti.com/
                                         ____________________________________________________________________________________________________




11. Type of debtor                       Check one:
                                         ✔
                                               Non-individual (check one):

                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership
                                                  ✔
                                                                      Bermuda exempted company
                                                      Other. Specify: ________________________________________________

                                               Individual




     Official Form 401                          Chapter 15 Petition for Recognition of a Foreign Proceeding                                      page 2
                            Case 24-12539-LSS                  Doc 1       Filed 11/03/24             Page 3 of 23

Debtor      Afiniti, Ltd.
            _______________________________________________________                        Case number (if known)_____________________________________
               Name




12. Why is venue proper in this      Check one:
   district?                         ✔
                                          Debtor’s principal place of business or principal assets in the United States are in this district.
                                          Debtor does not have a place of business or assets in the United States, but the following
                                           action or proceeding in a federal or state court is pending against the debtor in this district:
                                           ___________________________________________________________________________.

                                          If neither box is checked, venue is consistent with the interests of justice and the convenience
                                           of the parties, having regard to the relief sought by the foreign representative, because:
                                           ___________________________________________________________________________.



13. Signature of foreign
   representative(s)                 I request relief in accordance with chapter 15 of title 11, United States Code.

                                     I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                     relief sought in this petition, and I am authorized to file this petition.

                                     I have examined the information in this petition and have a reasonable belief that the
                                     information is true and correct.

                                     I declare under penalty of perjury that the foregoing is true and correct,


                                     8 V+DVVDQ$I]DO
                                          ________________________________________________
                                                                                                     +DVVDQ$I]DO
                                                                                                    _______________________________________________
                                         Signature of foreign representative                        Printed name

                                                         
                                     Executed on         __________________
                                                          MM / DD / YYYY



                                     8    ________________________________________________          _______________________________________________
                                         Signature of foreign representative                        Printed name


                                     Executed on         __________________
                                                          MM / DD / YYYY




14. Signature of attorney
                                     8 /s/ Kara Hammond Coyle
                                          _________________________________________________ Date
                                                                                                                11/03/2024
                                                                                                               _________________
                                          Signature of Attorney for foreign representative                     MM     / DD / YYYY

                                          Kara Hammond Coyle
                                         _________________________________________________________________________________________________
                                         Printed name
                                         YOUNG     CONAWAY STARGATT & TAYLOR, LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         Rodney   Square, 1000 North King Street
                                         _________________________________________________________________________________________________
                                         Number       Street
                                         Wilmington
                                         ____________________________________________________            DE         19801
                                                                                                         __________________________________________
                                         City                                                            State        ZIP Code


                                         (302) 571-6600
                                         ____________________________________
                                                                                                          kcoyle@ycst.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          4410
                                                                                                DE
                                         ______________________________________________________ ____________
                                         Bar number                                             State




 Official Form 401                        Chapter 15 Petition for Recognition of a Foreign Proceeding                                    page 3
                 Case 24-12539-LSS   Doc 1   Filed 11/03/24   Page 4 of 23




                          Item : (YLGHQFHRI Foreign Proceeding




US-DOCS\154577381.2
Case 24-12539-LSS   Doc 1   Filed 11/03/24   Page 5 of 23
Case 24-12539-LSS   Doc 1   Filed 11/03/24   Page 6 of 23
Case 24-12539-LSS   Doc 1   Filed 11/03/24   Page 7 of 23
Case 24-12539-LSS   Doc 1   Filed 11/03/24   Page 8 of 23
Case 24-12539-LSS   Doc 1   Filed 11/03/24   Page 9 of 23
Case 24-12539-LSS   Doc 1   Filed 11/03/24   Page 10 of 23
                Case 24-12539-LSS       Doc 1   Filed 11/03/24   Page 11 of 23




                                 Item 8: Disclosure Pursuant to Rule
                      1007(a)(4) of the Federal Rules of Bankruptcy Procedure




US-DOCS\154577382.2
                   Case 24-12539-LSS            Doc 1      Filed 11/03/24        Page 12 of 23




                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE


    In re:                                                   Chapter 15

    Afiniti, Ltd.,1                                          Case No. 24-__________ (           )

              Debtor in a Foreign Proceeding.


                        DISCLOSURE PURSUANT TO RULE 1007(a)(4)
                   OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

             Afiniti, Ltd., in its capacity as the duly authorized foreign representative (the “Foreign

Representative”) appointed by the Supreme Court of Bermuda, Companies (Winding Up)

Commercial Court (the “Bermuda Court”) to represent the above-captioned debtor (the

“Debtor”), which is the subject of a provisional liquidation proceeding in the Bermuda Court

entitled In the Matter of Afiniti Ltd. (Provisional Liquidators Appointed for Restructuring

Purposes) and In the Matter of the Companies Act 1981 (2024: No. 265), hereby files this

disclosure pursuant to rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure:

A.           Administrators in Foreign Proceeding Concerning the Debtor

             1.       Afiniti, Ltd. is authorized by the Bermuda Court to administer foreign proceedings

of the Debtor. Its address is: Crawford House, 50 Cedar Avenue, Hamilton, Pembroke, HM 11,

Bermuda.

             2.       Mike Morrison and Charles Thresh (the Debtor’s joint and several “light-touch”

provisional liquidators for restructuring purposes) are also authorized by the Bermuda Court to

administer foreign proceedings of the Debtor. Their address is: Teneo (Bermuda) Limited, 19 Par-

La-Ville Road, 3rd Floor, Hamilton HM 11, Bermuda.


1   The Debtor’s registration number is 45859. The location of the Debtor’s registered office is Crawford House,
    50 Cedar Avenue, Hamilton, Pembroke, HM 11, Bermuda.
               Case 24-12539-LSS           Doc 1      Filed 11/03/24      Page 13 of 23




B.      Entities Against Whom Provisional Relief is Sought Pursuant to 11 U.S.C. § 1519

        3.      The Foreign Representative is not seeking provisional relief against any parties at

this time, but reserves the right to seek such relief in the future.

C.      All Parties to Litigation Pending in the United States in which the Debtor is a Party
        at the Time of Filing of the Petition

        4.      To the best of the Foreign Representative’s knowledge, information, and belief, the

parties to litigation pending in the United States in which the Debtor is a party at the time of the

filing of the Debtor’s chapter 15 petition for recognition of a foreign main proceeding are:

                     Proceeding                                          Party & Address
Afiniti, Ltd. et al v. Chishti et al., D.D.C., Case       Muhammad Ziaullah Khan Chishti
No. 01-23-00303 (RDM) (trade secret action                [Personal Address on File]
filed by Afiniti, Ltd. and Afiniti, Inc.)

Afiniti, Ltd. et al v. Chishti et al., D.D.C., Case       Qinhe (Hainan) Intelligent Technology Ltd.
No. 01-23-00303 (RDM) (trade secret action                401-2, Block E, Fullsing Town,
filed by Afiniti, Ltd. and Afiniti, Inc.)                 32 Binhai Avenue, Longhua District,
                                                          Haikou City, Hainan Province
Afiniti, Ltd. et al v. Chishti et al., D.D.C., Case       Isbei (Hainan) Technology Co., Ltd.
No. 01-23-00303 (RDM) (trade secret action                401-2, Block E, Fullsing Town,
filed by Afiniti, Ltd. and Afiniti, Inc.)                 32 Binhai Avenue, Longhua District,
                                                          Haikou City, Hainan Province
Afiniti, Ltd. et al v. Chishti et al., D.D.C., Case       Isbei AI (Private) Ltd.
No. 01-23-00303 (RDM) (trade secret action                House No 96, Sector F - 8/2,
filed by Afiniti, Ltd. and Afiniti, Inc.)                 Khayaban-e-Iqbal, Margalla Road,
                                                          Islamabad, Pakistan
Afiniti, Ltd. et al v. Chishti et al., D.D.C., Case       Isbei Ltd.
No. 01-23-00303 (RDM) (trade secret action                Ocorian Trust (Cayman) Limited, P.O. Box 1350,
filed by Afiniti, Ltd. and Afiniti, Inc.)                 Windward 3, Regatta Office Park,
                                                          Grand Cayman KY1-1108, Cayman Islands
Afiniti, Ltd. et al v. Chishti et al., D.D.C., Case       Sarah Pobereskin
No. 01-23-00303 (RDM) (trade secret action                [Personal Address on File]
filed by Afiniti, Ltd. and Afiniti, Inc.)




                                                      2
            Case 24-12539-LSS   Doc 1      Filed 11/03/24   Page 14 of 23




Dated: November 3, 2024
       Wilmington, Delaware      Respectfully submitted,

                                 /s/ Kara Hammond Coyle
                                 YOUNG CONAWAY STARGATT &TAYLOR, LLP
                                 Michael R. Nestor (No. 3526)
                                 Kara Hammond Coyle (No. 4410)
                                 Rodney Square, 1000 North King Street
                                 Wilmington, DE 19801
                                 Telephone: (302) 571-6600
                                 Email: mnestor@ycst.com
                                         kcoyle@ycst.com
                                 – and –
                                 George Davis (pro hac vice pending)
                                 David Hammerman (pro hac vice pending)
                                 Meghana Vunnamadala (pro hac vice pending)
                                 LATHAM & WATKINS LLP
                                 1271 Avenue of the Americas
                                 New York, NY 10020
                                 Telephone: (212) 906-1200
                                 Email: george.davis@lw.com
                                         david.hammerman@lw.com
                                         meghana.vunnamadala@lw.com
                                 – and –
                                 Jason B. Gott (pro hac vice pending)
                                 Jonathan Gordon (pro hac vice pending)
                                 LATHAM & WATKINS LLP
                                 330 North Wabash Avenue, Suite 2800
                                 Chicago, IL 60611
                                 Telephone: (312) 876-7700
                                 Email: jason.gott@lw.com
                                          jonathan.gordon@lw.com

                                 Counsel to the Foreign Representative




                                        3
                Case 24-12539-LSS   Doc 1   Filed 11/03/24   Page 15 of 23




                         Item 11: Corporate Ownership Statement




US-DOCS\154577384.2
                   Case 24-12539-LSS            Doc 1      Filed 11/03/24        Page 16 of 23




                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE


    In re:                                                   Chapter 15

    Afiniti, Ltd.,1                                          Case No. 24-__________ (           )

              Debtor in a Foreign Proceeding.


                             CORPORATE OWNERSHIP STATEMENT
                               OF AFINITI, LTD. PURSUANT TO
                            BANKRUPTCY RULES 1007(a)(4) AND 7007.1

             Afiniti, Ltd., in its capacity as the duly authorized foreign representative (the “Foreign

Representative”) appointed by the Supreme Court of Bermuda, Companies (Winding Up)

Commercial Court (the “Bermuda Court”) to represent the above-captioned debtor (the

“Debtor”), which is the subject of a provisional liquidation proceeding in the Bermuda Court

entitled In the Matter of Afiniti Ltd. (Provisional Liquidators Appointed for Restructuring

Purposes) and In the Matter of the Companies Act 1981 (2024: No. 265), hereby files the corporate

ownership information required by Rules 1007(a)(4) and 7007.1 of the Federal Rules of

Bankruptcy Procedure.

             To the best of the Foreign Representative’s knowledge: (i) the Debtor has no parent

corporation; (ii) no corporation publicly held in the United States owns 10% or more of the

Debtor’s stock; and (iii) The Resource Group Pakistan, which is publicly held in Pakistan,

indirectly owns more than 10% of the Debtor’s stock.


                                [Remainder of Page Intentionally Left Blank]




1   The Debtor’s registration number is 45859. The location of the Debtor’s registered office is Crawford House,
    50 Cedar Avenue, Hamilton, Pembroke, HM 11, Bermuda.
            Case 24-12539-LSS   Doc 1      Filed 11/03/24   Page 17 of 23




Dated: November 3, 2024          Respectfully submitted,
       Wilmington, Delaware
                                 /s/ Kara Hammond Coyle
                                 YOUNG CONAWAY STARGATT &TAYLOR, LLP
                                 Michael R. Nestor (No. 3526)
                                 Kara Hammond Coyle (No. 4410)
                                 Rodney Square, 1000 North King Street
                                 Wilmington, DE 19801
                                 Telephone: (302) 571-6600
                                 Email: mnestor@ycst.com
                                         kcoyle@ycst.com
                                 – and –
                                 George Davis (pro hac vice pending)
                                 David Hammerman (pro hac vice pending)
                                 Meghana Vunnamadala (pro hac vice pending)
                                 LATHAM & WATKINS LLP
                                 1271 Avenue of the Americas
                                 New York, NY 10020
                                 Telephone: (212) 906-1200
                                 Email: george.davis@lw.com
                                         david.hammerman@lw.com
                                         meghana.vunnamadala@lw.com
                                 – and –
                                 Jason B. Gott (pro hac vice pending)
                                 Jonathan Gordon (pro hac vice pending)
                                 LATHAM & WATKINS LLP
                                 330 North Wabash Avenue, Suite 2800
                                 Chicago, IL 60611
                                 Telephone: (312) 876-7700
                                 Email: jason.gott@lw.com
                                          jonathan.gordon@lw.com

                                 Counsel to the Foreign Representative
           Case 24-12539-LSS             Doc 1      Filed 11/03/24        Page 18 of 23



   Resolutions of the Board of Directors (the “Board”) of Afiniti, Ltd. (the “Company”)
                      Adopted at a Meeting held on September 13, 2024

1. Approval of Restructuring Support Agreement and Associated Restructuring

   WHEREAS, in light of (i) the upcoming maturity of the term loans extended to the Company’s
   affiliate, Afiniti, Inc., pursuant to that certain term loan agreement originally dated as of June 13,
   2019, among Afiniti, Inc. as borrower, the Company as parent guarantor, the lenders from time to
   time party thereto and VCP Capital Markets, LLC as administrative and collateral agent (as
   amended, restated, amended and restated, supplemented or otherwise modified from time to time,
   the “Vista Credit Agreement”), (ii) the Company’s guarantee thereof, and (iii) the inability of
   Afiniti, Inc. and the Company to pay such loans at their maturity, the Company has in good faith
   and at arm’s length negotiated and agreed to the terms of a restructuring transaction as set forth in
   a restructuring support agreement, a substantially final form of which has been provided to the
   board (the “RSA” and the transactions pursuant thereto being the “Restructuring”);

   AND WHEREAS, in connection with the proposed Restructuring, the Company has
   commissioned and received an independent valuation report prepared by Teneo (the “Valuation
   Report”), and each of the Directors have had the opportunity to review and comment upon the
   Valuation Report and its findings;

   AND WHEREAS, the Valuation Report discloses that the assets of the Company are materially
   less than its liabilities and, in particular, the value of the Company’s assets is most likely insufficient
   to discharge the secured indebtedness that would be owed by the Company (together with its
   affiliated co-obligors) upon the near term maturity of the term loans under the Vista Credit
   Agreement;

   AND WHEREAS, the Board, with assistance of professional advisors and in recognition of its
   fiduciary duties owed to the Company and its creditors given the financial position of the Company,
   has engaged with the lenders under the Vista Credit Agreement to discuss possible transactions to
   prevent a value destructive liquidation or other result that would result in significant losses to
   creditors and impairment in the enterprise value of the Company and its affiliates;

   AND WHEREAS, the Board has concluded that the Restructuring represents, in light of the
   Valuation Report, a reasonable compromise that maximizes value for all the Company’s
   stakeholders compared to available alternatives and permits the restructured group (of which the
   Company is presently the parent) to continue as a going concern;

   NOW THEREFORE BE IT RESOLVED THAT:

   (i)     it is in the Company’s best commercial interest, given the findings of the Valuation Report,
           to approve the Restructuring and the RSA, it being noted that the Restructuring shall result
           in a release of all claims against the Company by the parties under the Vista Credit
           Agreement;

   (ii)    the Restructuring and all transactions contemplated thereby, together with such other
           transactions as any director or officer of the Company acting singly (each, an “Authorised
           Person”), may in his or her absolute and unfettered discretion deem appropriate for the
           completion of all matters contemplated by the Restructuring and/or described in the RSA,
           be and are hereby approved;



                                                   1
           Case 24-12539-LSS           Doc 1     Filed 11/03/24       Page 19 of 23



   (iii)   the RSA be and is hereby approved and that any Authorized Person, acting singly, be
           authorised to execute on behalf of the Company the RSA and make any amendments
           thereto whatsoever in such form and containing such terms and conditions as any
           Authorized Person may approve, and that the execution thereof shall be conclusive
           evidence of such approval; and

   (iv)    any Authorized Person, acting singly, be and is hereby authorised to prepare, execute,
           swear and/or deliver any document on behalf of the Company or otherwise which may be
           necessary or desirable for the purposes of the Restructuring.

2. Bermuda Court Process

   WHEREAS, the RSA envisages that the Restructuring shall be implemented through the
   appointment of a provisional liquidator following the presentation of a winding-up petition by the
   Company;

   AND WHEREAS, a provisional liquidator appointed in a “light-touch” process serves as a
   disinterested advocate for creditor interests, and the Directors have been advised that a provisional
   liquidator could also independently evaluate and support the Valuation Report and the
   Restructuring;

   AND WHEREAS, it is proposed that the provisional liquidator shall seek sanction and/or approval
   of the Restructuring before the Bermuda Court as a means of providing independent validation of
   the Restructuring;

   AND WHEREAS, the Directors have been advised that to facilitate the Restructuring it is also
   desirable to seek the protection of the mandatory stay under section 167(4) of the Companies Act
   that comes into effect upon the appointment of a provisional liquidator following the presentation
   of a winding-up petition;

   BE IT THEREFORE RESOLVED THAT:

   (i)     the Company shall take such action as necessary to cause the Company to be wound up by
           the Bermuda Court, appoint Mike Morrison and Charles Thresh of Teneo as joint
           provisional liquidators, and to provide such assistance as is necessary to the provisional
           liquidators in connection with an application to sanction the Restructuring (collectively,
           the “Bermuda Process”);

   (ii)    Conyers Dill & Pearman Limited, as the Company’s Bermuda attorneys, be and is hereby
           authorized to take the necessary steps and to draft the necessary documents to file with the
           Court in connection with the Bermuda Process; and

   (iii)   any Authorized Person, acting singly, be and is hereby authorized to take any and all action
           required to give effect to the Bermuda Process, including, but not limited to, the execution
           and delivery of any and all documentation or instructions whatsoever and swearing
           affidavits.

3. Transfer Documents and Reorganisation in Connection with Restructuring

   WHEREAS, the Restructuring envisages, amongst other things, the Company transferring and
   conveying substantially all of its assets (the “Asset Transfer”) ultimately to a newly formed limited


                                                2
        Case 24-12539-LSS          Doc 1      Filed 11/03/24      Page 20 of 23



liability company which will be majority owned by the lenders under the Vista Credit Agreement
(the “Newco”);

AND WHEREAS, the Company, following discussing with its professional advisors and
representatives for the lenders under the Vista Credit Agreement, has determined that in order to
ensure the Asset Transfer is tax efficient it is desirable to conduct an internal reorganisation
immediately prior to the implementation of the Asset Transfer (the “Reorganisation”);

AND WHEREAS, the Reorganisation entails the formation of a new Cayman subsidiary of the
Company (“CayCo”) and the transfer, conveyance and/or contribution of substantially all of the
Company’s non-US assets to CayCo pursuant to a stock and asset transfer agreement between the
Company and CayCo, a draft of which has been provided to the Board (the “Parent to CayCo
Transfer Agreement”);

AND WHEREAS, following the Reorganisation, it is anticipated that the Company, with the
support of the provisional liquidators appointed in the Bermuda Process and subject to any sanction
such provisional liquidators may apply for in the Bermuda Process, will enter into a securities
purchase agreement (the “Securities Purchase Agreement”), a draft of which has been provided
to the Board;

AND WHEREAS, pursuant to the Securities Purchase Agreement, the Company shall sell, convey
and transfer, in furtherance of the Restructuring and in release for its liabilities under the Vista
Credit Agreement all of its equity in CayCo and its U.S. subsidiary Afiniti Inc.;

AND WHEREAS, the Parent to CayCo Transfer Agreement and the Securities Agreement are
collectively referred to as the “Transfer Documents”;

BE IT THEREFORE RESOLVED:

(i)     the Reorganisation, together with such other transactions as any Authorised Person may in
        his absolute and unfettered discretion deem appropriate for the completion of all matters
        contemplated by the Reorganisation and/or described in the Parent to CayCo Transfer
        Agreement, be and are hereby approved;

(ii)    the Transfer Documents be and are hereby approved and that any Authorised Person be,
        and each of them hereby is, authorised to execute (under the common seal of the Company
        if appropriate), and deliver on behalf of the Company, subject to the Bermuda Process and
        any order made therein, any and all of the Transfer Documents and any amendments thereto
        in such form and containing such terms and conditions as such person executing the same
        may in his absolute and unfettered discretion determine and approve, such determination
        and approval to be conclusively evidenced by such person's execution thereof; and

(iii)   any Authorised Person be, and each of them hereby is, authorised to execute (under the
        common seal of the Company if appropriate) and deliver on behalf of the Company, subject
        to the Bermuda Process and any order made therein, any and all agreements, instruments
        and other documents whatsoever, and do any and all other things whatsoever, as such
        director or officer shall in his absolute and unfettered discretion deem or determine
        appropriate in connection with any of the foregoing resolutions, the transactions
        contemplated thereby and any ancillary matters thereto and/or to carry out the purposes
        and intent thereof, such deeming or determination to be conclusively evidenced by any
        such execution or the taking of any such action by such person or persons.


                                             3
            Case 24-12539-LSS           Doc 1     Filed 11/03/24       Page 21 of 23




4. Chapter 15 Proceeding and Appointment of Foreign Representative

    WHEREAS as a condition to the effectiveness of the Restructuring, the Company intends to seek
    recognition of the Bermuda Process as a “foreign main proceeding” or, in the alternative, as a
    “foreign non-main proceeding” of the Company under Chapter 15 of the U.S. Bankruptcy Code in
    the U.S. Bankruptcy Court for the District of Delaware (the “Chapter 15 Proceeding”).

    BE IT THEREFORE RESOLVED THAT:

    (i)     the Company, acting through its Board, shall seek to be authorised to act as the Company’s
            legal foreign representative in connection with the Chapter 15 Proceeding (the “Foreign
            Representative”);

    (ii)    the Foreign Representative is authorized to act as the Company’s agent in seeking any relief
            available to a “foreign representative” in the Chapter 15 Proceeding;

    (iii)   Latham & Watkins LLP and Young Conaway LLP, the Company’s U.S. restructuring
            counsel, be and are hereby authorized to take the necessary steps and to draft the necessary
            documents to file with the Court in connection with the Chapter 15 Proceeding;

    (iv)    any Authorized Person, acting singly, be and hereby is authorized to execute and file any
            and all petitions, schedules, motions, lists, applications, pleadings, declarations, and other
            papers, and to take any and all further actions which the Company’s legal counsel may
            deem necessary, proper, or desirable in connection with the Chapter 15 Proceeding, with a
            view to the successful resolution of such case; and

    (v)     any of the foregoing matters set out in these resolutions that have been done on or before
            the date hereof be and are hereby adopted, ratified, confirmed and approved.

5. Thirteenth Amendment to Term Loan Credit Agreement

WHEREAS, it is proposed that the Company as Parent enter into a New York law governed
amendment no. 13 to the Vista Credit Agreement (“Thirteenth Amendment”), by and among the
Company, Afiniti, Inc. as Borrower, Afiniti Newco Holdings LLC, the Guarantors, the Lenders and
VCP Capital Markets, LLC as Administrative Agent and the Collateral Agent, in order to make such
amendments to the Vista Credit Agreement as are contemplated by the Restructuring including inter
alia to amend the existing term loans into (a) a senior first lien secured tranche in an amount not less
than $225,000,000 and (b) a junior second lien secured convertible tranche in an amount not less than
$285,000,000, in exchange for the Company’s release as a guarantor thereunder (the “Financing
Transaction”).

AND WHEREAS, in connection with the Financing Transaction, the Company is required to approve
and, as the case may be, enter into certain agreements, instruments or documents including (without
limitation) any or all of the following, draft copies of which have been provided to the directors for
their review and are each attached to these written resolutions:

(a) the Thirteenth Amendment;




                                                 4
           Case 24-12539-LSS          Doc 1     Filed 11/03/24       Page 22 of 23



(b) a Bermuda law governed deed of confirmation to be entered into by the Company and VCP Capital
    Markets, LLC in relation to a Bermuda law governed debenture dated 13 June 2019 made between
    the aforementioned parties; and

(c) any other agreements or documents to be entered into pursuant to the Thirteenth Amendment or in
    connection therewith to which the Company is a party

(collectively, the “Financing Transaction Documents”).

WHEREAS the directors have determined that it is advisable and in the best interests of the Company
to consummate the Financing Transaction.

BE IT THEREFORE RESOLVED THAT:

   (i)     it is in the Company’s commercial interests to approve the Financing Transaction and enter
           into the Financing Transaction Documents;

   (ii)    the Financing Transaction, together with such other transactions as any Authorised Person
           may in his absolute and unfettered discretion deem appropriate for the completion of all
           matters contemplated by the Financing Transaction and/or described in the Financing
           Transaction Documents, be and are hereby approved;

   (iii)   the Financing Transaction Documents be and are hereby approved and that any Authorised
           Person be, and each of them hereby is, authorised to execute (under the common seal of
           the Company if appropriate) and deliver on behalf of the Company any and all of the
           Financing Transaction Documents and any amendments thereto in such form and
           containing such terms and conditions as such person executing the same may in his
           absolute and unfettered discretion determine and approve, such determination and approval
           to be conclusively evidenced by such person's execution thereof;

   (iv)    any Authorised Person be, and each of them hereby is, authorised to execute (under the
           common seal of the Company if appropriate) and deliver on behalf of the Company any
           and all agreements, instruments and other documents whatsoever (including, for the
           avoidance of doubt, any director certificate to be delivered in connection with the
           Thirteenth Amendment), and do any and all other things whatsoever, as such director or
           officer shall in his absolute and unfettered discretion deem or determine appropriate in
           connection with any of the foregoing resolutions, the transactions contemplated thereby
           and any ancillary matters thereto and/or to carry out the purposes and intent thereof, such
           deeming or determination to be conclusively evidenced by any such execution or the taking
           of any such action by such person or persons; and

   (v)     any and all agreements, instruments and other documents whatsoever, and any and all
           actions whatsoever, heretofore or hereafter executed, delivered and/or taken by any director
           or officer of the Company on behalf of the Company in connection with the subject matter
           of these resolutions be and are hereby approved, ratified and confirmed in all respects as
           the acts and deeds of the Company.

6. General Authorisation

   It is RESOLVED that the Authorised Persons be authorised to do all such things, and to execute
   and deliver all documents as may be necessary to give effect to the foregoing Resolutions, and any


                                               5
       Case 24-12539-LSS          Doc 1     Filed 11/03/24      Page 23 of 23



actions previously taken by such individuals in connection with the matters contemplated by, and
not materially inconsistent with, these Resolutions be approved, ratified, confirmed, and adopted
as of the date they were made with the same force and effect as if each act or thing had been
specifically authorized in advance by resolution of the Board.


                              [END OF RESOLUTIONS]




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